Case 2:85-cv-04544-DMG-AGR Document 472 Filed 08/10/18 Page 1 of 3 Page ID #:23463




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8                           UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
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     JENNY LISETTE FLORES, et al.,          )   Case No.: CV 85-4544-DMG (AGRx) 
13                                          )
              Plaintiffs,                   )   ORDER CONTINUING DUE DATE OF
14
     - vs -                                 )   PARTIES’ SUBMISSIONS RE APPOINTMENT
15                                          )   OF A SPECIAL MASTER/INDEPENDENT
     JEFFERSON B. SESSIONS, ATTORNEY        )   MONITOR [471]
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     GENERAL, U.S. DEPARTMENT OF            )
17   JUSTICE, et al.,                       )
18                                          )
              Defendants.                   )
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Case 2:85-cv-04544-DMG-AGR Document 472 Filed 08/10/18 Page 2 of 3 Page ID #:23464



1          The parties have stipulated to a continuance of the submission date for the
2    Parties’ position(s) regarding the appointment of a Special Master/Independent
3    Monitor and Defendants’ filing responding to Plaintiffs’ declarations ordered to be
4    filed on August 10, 2018. See Minute Order [Doc. # 469].
5          UPON CONSIDERATION of the Parties’ Stipulation and for the reasons set
6    forth therein, the Court hereby ORDERS that the Parties shall file their submission(s)
7    regarding the appointment of a Special Master/Independent Monitor, and Defendants
8    shall file their response to Plaintiffs’ declarations, on or before August 17, 2018.
9    IT IS SO ORDERED.
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11   DATED: August 10, 2018                  ______________________________
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                                             DOLLY M. GEE
                                             UNITED STATES DISTRICT JUDGE
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25                                   CERTIFICATE OF SERVICE
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           I, Peter Schey, declare and say as follows:
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Case 2:85-cv-04544-DMG-AGR Document 472 Filed 08/10/18 Page 3 of 3 Page ID #:23465



1          I am over the age of eighteen years of age and am a party to this action. I am
2
     employed in the County of Los Angeles, State of California. My business address is
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     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
4

5          On August 9, 2018, I electronically filed the following document(s):
6
               [PROPOSED] ORDER CONTINUING DUE DATE OF PARTIES’ SUBMISSION RE
7          APPOINTMENT OF A SPECIAL MASTER/INDEPENDENT MONITOR
8

9    with the United States District Court, Central District of California by using the

10   CM/ECF system. Participants in the case who are registered CM/ECF users will be
11
     served by the CM/ECF system.
12

13                                                /s/Peter Schey

14                                                Attorney for Plaintiffs
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